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                        UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
                            SAN ANTONIO DIVISION

LA UNIÓN DEL PUEBLO ENTERO, et al.,      §
      Plaintiffs,                        §
                                         §      Consolidated Case No. 5:21-cv-844-XR
v.                                       §
                                         §
GREGORY W. ABBOTT, et al.,               §
     Defendants.                         §



       Documents Produced with State Defendants’ Initial Disclosures
                          November 5, 2021


           Copy Filed with the Court November 15, 2021 (ECF 112)

                                   Senate Bill 1
                              Legislative Session: 87
                              Second Special Session

                                      Part IV
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Date: November 15, 2021                        Respectfully submitted.

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     I certify that a true and accurate copy of the foregoing document was filed electronically (via
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